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VAN−150 Deficiency Notice (Text) − Rev. 07/10/2018

                              UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF NORTH CAROLINA
                                                     Wilmington Division



                                                              CASE NO.: 19−01394−5−SWH

IN RE:                                                        DATE FILED: March 28, 2019

                                                              CHAPTER: 13


Charles Francis Ramsburg                                      Debtor represented by:
( debtor has no known aliases )                               Charles Francis Ramsburg
500 Rivage Promenade                                          500 Rivage Promenade
Wilmington, NC 28412                                          Wilmington, NC 28412



Jamie Lee Ramsburg                                            Joint Debtor repesented by:
 ( debtor has no known aliases )                              Jamie Lee Ramsburg
500 Rivage Promenade                                          500 Rivage Promenade
Wilmington, NC 28412                                          Wilmington, NC 28412




Trustee:
Joseph A. Bledsoe III
PO Box 1618
New Bern, NC 28563



                                                     DEFICIENCY NOTICE

To: Charles and Jamie Ramsburg

Re: Chapter 13 Petition

The referenced document has been filed; however, it is deficient as noted below. Failure to correct the
deficiencies by April 2, 2019 may result in the court assuming you no longer desire the relief requested
and entering an order denying or dismissing the requested relief, or in the matter being forwarded to the
judge for appropriate action.

The petition has not been signed by Debtor. The certification of mailing matrix has not been signed by
Debtor. The motion for temporary waiver of the credit counseling course requirement due to exigent
circumstances was omitted. The application to pay filing fees in installments was omitted.

DATED: March 28, 2019

                                                              Erin Donnery
                                                              Deputy Clerk
